Opinion issued August 22, 2024




                                        In The

                                Court of Appeals
                                       For The

                            First District of Texas
                              ————————————
                                NO. 01-24-00603-CV
                             ———————————
                           IN RE M.L.L.-R., RELATOR



             Original Proceeding on Petition for Writ of Mandamus


                           MEMORANDUM OPINION

      Relator, parent of a minor child, has filed a petition for writ of mandamus

requesting that this Court compel Valley Oaks Elementary School and Spring

Branch Independent School District to “perform [their] statutory duty by promptly

granting [relator’s] petition to repeat grade.”

      “Except to protect our jurisdiction, our authority to issue writs of mandamus

is limited to district and county court judges.” Jenness v. Daggett, No. 01-88-01031-

CV, 1988 WL 125197, 1 (Tex. App.—Houston [1st Dist.] Nov. 23, 1988, no writ);
see also TEX. GOV’T CODE § 22.221. There is no underlying lawsuit to compel the

elementary school or the school district to act, thus mandamus would not serve to

protect our jurisdiction. And, we have no jurisdiction otherwise to mandamus the

elementary school or the school district. See id.

      Accordingly, we dismiss the petition for writ of mandamus for lack of

jurisdiction.

                                  PER CURIAM
Panel consists of Chief Justice Adams and Justices Hightower and Countiss.




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